      Case 8-10-79603-reg             Doc 22      Filed 05/11/18   Entered 05/11/18 11:36:04




 UNITED STATES BANKRUPTCY COURT
 EASTERN DISTRICT OF NEW YORK
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 In re:
                                                                   Index No. 10-79603 (REG)
 HOWARD KRESNER,
                                                                   Chapter 7
                                     Debtor.
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                               ORDER AVOIDING JUDICIAL LIENS

        UPON the motion (the “Motion”) of Howard Kresner (the “Debtor”), the above-referenced

debtor, by and through his counsel, Macco & Stern, LLP, for an order avoiding judicial liens

against the Debtor’s interest in the real property located at, and known as, 8 Springwood Lane,

Huntington, New York 11743 (the “Real Property”); and (iii) closing the Debtor’s bankruptcy

case; and notice of the Motion being good and sufficient, and no further notice being necessary

nor required; and no objections to the Motion having been filed or received; and after due

deliberation and sufficient cause appearing therefore, it is hereby:

        ORDERED, that the Motion is granted; and it is further

        ORDERED, that the following judicial liens are vacated, expunged, and avoided as a lien

of record against the Real Property:

        1.       Workers Compensation Board of the State of New York, recorded with the Suffolk

                 County Clerk on November 19, 2008, in the amount of $1,750.00

        2.       FIA Card Services N A, recorded with the Suffolk County Clerk on September 7,

                 2010, in the amount of $50,237.81;

        3.       JPMorgan Chase Bank N A, recorded with the Suffolk County Clerk on September

                 8, 2010, in the amount of $27,997.16; and
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       4.     JPMorgan Chase Bank N A, recorded with the Suffolk County Clerk on September

              8, 2010, in the amount of $27,622.03; and

       5.     JPMorgan Chase Bank N A, recorded with the Suffolk County Clerk on September

              8, 2010, in the amount of $55,026.85; and

       6.     JPMorgan Chase Bank N A, recorded with the Suffolk County Clerk on September

              8, 2010, in the amount of $51,811.69; and

       7.     Capital One Bank (USA) N A., recorded with the Suffolk County Clerk on October

              15, 2010, in the amount of $9,524.47; and it is further

       ORDERED, that the Suffolk County Clerk shall be directed to index and record a certified

copy of this Order as an instrument vacating, expunging, and avoiding the aforementioned judicial

liens as liens against the Debtor’s real property located at, and known as, 8 Springwood Lane,

Huntington, New York 11743; and it is further

       ORDERED, that the Clerk of the Bankruptcy Court is directed to close the Debtor’s

bankruptcy case, assigned index number 10-79603 (REG).



SO ORDERED:




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 Dated: Central Islip, New York                                   Robert E. Grossman
        May 11, 2018                                         United States Bankruptcy Judge
